                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

 In the Matter of:             )                               Bankruptcy Case #
 JOHN STODDART and             )                               19-80272-TOM-11
 HELEN POWELL-STODDART Debtors )

         MOTION FOR AN ORDER SETTING BAR DATE FOR FILING CLAIMS

 COMES NOW the Bankruptcy Administrator for the Northern District of Alabama, by nd
 through the undersigned counsel, and moves this Honorable Court, pursuant to Rule 3003 of the
 Federal Rules of Bankruptcy Procedure, for an order setting a bar date for filing proofs of claim.
 In support thereof, the B.A. states as follows:

 1.     The debtor filed a voluntary petition for relief under Chapter 11 of Title 11 of the U.S.
        Bankruptcy Code on January 30, 2019.

 2.     The debtor is operating its businesses and managing its assets as debtor-in-possession
        pursuant to Sections 1107 and 1108 of the Bankruptcy Code. No trustee or examiner has
        been appointed in the debtor’s bankruptcy case.

 3.     Rule 3003(c)(3) of the Bankruptcy Rules of Procedure provides that “[t]he Court shall fix
        and for cause shown may extend the time within which proofs of claim or interest may be
        filed.”

 4.     A bar date for filing proofs of claim and equity security interests is necessary to allow the
        debtor to proceed with the administration of their bankruptcy cases and to pursue
        confirmation and consummation of the Plan.

 5.     The administration of this case and the likelihood of a successful
        reorganization/liquidation is benefitted by the filing of claims by a date certain.

 6.     A date certain for the filing of claims does not impose an undue hardship, burden, or
        detriment on the debtors, creditors, or the estate.

 WHEREFORE, these premises considered, the Bankruptcy Administrator respectfully requests
 that this Court enter an order setting a bar date for filing proofs of claim and equity security
 interests in the above-styled case.

 Respectfully submitted this the 16th day of April, 2019.

                                                       /s/ Jon A. Dudeck
                                                       Jon A. Dudeck
                                                       Assistant U.S. Bankruptcy Administrator




Case 19-80272-TOM11         Doc 44    Filed 04/16/19 Entered 04/16/19 16:05:08                Desc Main
                                     Document     Page 1 of 2
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 Birmingham, Alabama 35203
 (205)714-3840

                                  CERTIFICATE OF SERVICE

 This is to certify that on this the 16th day of April, 2019, I have served a copy of the foregoing on
 the parties listed below by depositing the same in the United States Mail, postage prepaid and
 properly addressed, or if the party being served is a registered participant in the CM/ECF System
 for the United States Bankruptcy Court for the Northern District of Alabama, service has been
 made by a “Notice of Electronic Filing” pursuant to FRBP 9036 in accordance with subparagraph
 II.B.4 of the Court’s Administrative Procedures.

 Tazewell Shepard, taze@ssmattorneys.com



                                                       /s/ Jon A. Dudeck
                                                       Jon A. Dudeck
                                                       Assistant U.S. Bankruptcy Administrator




Case 19-80272-TOM11         Doc 44    Filed 04/16/19 Entered 04/16/19 16:05:08              Desc Main
                                     Document     Page 2 of 2
